Case 1:09-cv-00577-JJM-LDA   Document 24   Filed 03/21/11   Page 1 of 19 PageID #:
                                      99
Case 1:09-cv-00577-JJM-LDA   Document 24   Filed 03/21/11   Page 2 of 19 PageID #:
                                     100
Case 1:09-cv-00577-JJM-LDA   Document 24   Filed 03/21/11   Page 3 of 19 PageID #:
                                     101
Case 1:09-cv-00577-JJM-LDA   Document 24   Filed 03/21/11   Page 4 of 19 PageID #:
                                     102
Case 1:09-cv-00577-JJM-LDA   Document 24   Filed 03/21/11   Page 5 of 19 PageID #:
                                     103
Case 1:09-cv-00577-JJM-LDA   Document 24   Filed 03/21/11   Page 6 of 19 PageID #:
                                     104
Case 1:09-cv-00577-JJM-LDA   Document 24   Filed 03/21/11   Page 7 of 19 PageID #:
                                     105
Case 1:09-cv-00577-JJM-LDA   Document 24   Filed 03/21/11   Page 8 of 19 PageID #:
                                     106
Case 1:09-cv-00577-JJM-LDA   Document 24   Filed 03/21/11   Page 9 of 19 PageID #:
                                     107
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 10 of 19 PageID #:
                                      108
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 11 of 19 PageID #:
                                      109
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 12 of 19 PageID #:
                                      110
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 13 of 19 PageID #:
                                      111
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 14 of 19 PageID #:
                                      112
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 15 of 19 PageID #:
                                      113
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 16 of 19 PageID #:
                                      114
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 17 of 19 PageID #:
                                      115
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 18 of 19 PageID #:
                                      116
Case 1:09-cv-00577-JJM-LDA   Document 24 Filed 03/21/11   Page 19 of 19 PageID #:
                                      117
